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 8                            IN THE UNITED STATES DISTRICT COURT

 9                               EASTERN DISTRICT OF CALIFORNIA

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11   UNITED STATES OF AMERICA,                             CASE NO. 1:10-cr-00080-AWI
12                                Plaintiff,
                                                           STIPULATION TO VACATE REVIEW
13   v.                                                    HEARING; ORDER
14   GREGORIO OLMOS III.
15                                Defendant,
16

17          Plaintiff United States of America, by and through its counsel of record, and defendant

18 Gregorio Olmos, III, by and through his counsel of record hereby stipulate as follows:

19          1.     By previous order, this matter was set for review hearing on December 9, 2014 at

20 3:00 p.m.

21          2.     By this stipulation, the parties now move to vacate the review hearing.

22          3.     As of this date, the defendant is in compliance with the terms of his pretrial release as

23 modified according to his supervising officer Dan Stark. Defendant has been testing negative for

24 prohibited drugs.

25          4.     At this time there is no need for a further review hearing and the parties stipulate

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 1 that the hearing currently set for December 9, 2014 at 3:00 p.m. be taken off calendar. Pretrial

 2 Services Officer Dan Stark agrees with this course of action.

 3            IT IS SO STIPULATED.

 4 DATED: December 5, 2014                       /s/ Laurel J. Montoya
                                                 LAUREL J. MONTOYA
 5                                               Assistant United States Attorney
 6 DATED: December 5, 2014                       /s/ David Balakian
                                                 DAVID BALAKIAN
 7                                               Attorney for Defendant
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10                                               ORDER

11            The review hearing scheduled for December 9, 2014 is hereby vacated.

12 IT IS SO ORDERED.

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     Dated:     December 5, 2014
14                                                    UNITED STATES MAGISTRATE JUDGE

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